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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

 THE SOUTH CAROLINA STATE
 CONFERENCE OF THE NAACP, and

 TAIWAN SCOTT, on behalf of himself and             Civil Action No. 3:21-cv-03302-JMC-TJH-
 all other similarly situated persons,                                 RMG

                           Plaintiffs,

             v.
                                                    REPLY IN FURTHER SUPPORT OF
 THOMAS C. ALEXANDER, in his official               HOUSE DEFENDANTS’ MOTION TO
 capacity as President of the Senate; LUKE A.            COMPEL DISCOVERY
 RANKIN, in his official capacity as Chairman
 of the Senate Judiciary Committee; JAMES H.
 LUCAS, in his official capacity as Speaker of
 the House of Representatives; CHRIS
 MURPHY, in his official capacity as Chairman
 of the House of Representatives Judiciary
 Committee; WALLACE H. JORDAN, in his
 official capacity as Chairman of the House of
 Representatives Elections Law Subcommittee;
 HOWARD KNAPP, in his official capacity as
 interim Executive Director of the South
 Carolina State Election Commission; JOHN
 WELLS, Chair, JOANNE DAY, CLIFFORD
 J. EDLER, LINDA MCCALL, and SCOTT
 MOSELEY, in their official capacities as
 members of the South Carolina Election
 Commission,

                           Defendants.


       Defendants James H. Lucas (in his official capacity as Speaker of the South Carolina House

of Representatives), Chris Murphy (in his official capacity as Chairman of the South Carolina

House of Representatives Judiciary Committee), and Wallace H. Jordan (in his official capacity as

Chairman of the South Carolina House of Representatives Redistricting Ad Hoc Committee)

(collectively, the “House Defendants”), by and through undersigned counsel and pursuant to Fed.
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R. Civ. P. 37(a), hereby submit this Reply to the Motion to Compel (“Motion”) (ECF No. 157),

in order to reply to the opposition filed by Plaintiffs The South Carolina State Conference of the

NAACP (“SC NAACP”) and Taiwan Scott, on behalf of himself and all other similarly situated

persons (“Scott”) (collectively, “Plaintiffs”) (ECF No. 194).

                                       INTRODUCTION

        Although House Defendants attempted in good faith to resolve the discovery issues that

underlie the Motion with Plaintiffs before proceeding with their filing, those efforts were

unavailing—and House Defendants’ efforts to compromise since that filing have been similarly

unsuccessful. Plaintiffs’ boldly claim in their latest filings to this Court the Motion should be

rejected because it “transparently violates Local Rule 7.02.” ECF No. 194, 1. House Defendants

undertook a deliberate, written consultation with Plaintiffs 1 promptly upon receipt of Plaintiffs’

written responses, evidenced by the letter attached as Exhibit A to House Defendants’ Motion

(ECF No. 157-1). House Defendants submit these engagements are more than sufficient evidence

of compliance with L.R. 7.02. See Allison v. McCabe, Trotter & Beverly, P.C., No.: 2:17-cv-1727-

PMD, 2017 WL 6363635 *3, n.1 (D.S.C. Dec. 12, 2017) (finding exchange of written consultation

letters was sufficient evidence demonstrating good faith effort to resolve dispute in compliance

with local rule).

        While Plaintiffs made some minimal corrections with their recently amended discovery

responses, nearly every discovery response served by Plaintiffs is still deficient. As such, the

Motion remains the appropriate vehicle for redress of Plaintiffs’ insufficiencies in discovery. With

that said, House Defendants have further narrowed the specific discovery responses at issue for



1
  The fact that Plaintiffs considered the writing to be an attempt at resolution is evidenced by the
e-mail exchanges included as Exhibit 5 to Plaintiffs’ Response (ECF No. 194-6) and Plaintiffs’
written response attached as Exhibit B to the Motion (ECF No. 157-2).


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ruling by the Court (Appendix A and Appendix B set forth the specific Requests for Admission

(“RFA”) (Ap’x A) and Requests for Production (“RFP”) (Ap’x B) in dispute). 2

                                 REPLY TO BACKGROUND

       Plaintiffs’ Reply offers a brief summary of the jurisdictional facts alleged (but largely

unproven) in the Second Amended Complaint. In this filing, continuing the unsupported, naked

assertion of associational standing by SC NAACP, Plaintiffs include the newest factual allegation

that “SC NAACP has confirmed that at least one of its members is a registered voter in each of the

Challenged Districts through a review process conducted by in-house counsel at the NAACP’s

national office.” ECF No. 194, 3. This allegation is not set forth in the Second Amended

Complaint, nor is there any affidavit or other credible evidence offered to support the allegation 3

such as an affidavit from the identified NAACP employee. To the extent Plaintiffs’ discussion of

standing suggests that the question of proof for the associational standing allegations goes only to

House Defendants’ Fourth Defense, they are mistaken.

       Plaintiffs continue to incorrectly characterize the views of House Defendants 4 (such

fundamental disagreement being exactly as reported to the Court in the Joint Status Report filed


2
 House Defendants continue to believe most, if not all, of the Plaintiffs’ responses fail to comply
with the applicable rules and do not waive their sufficiency challenges to other responses that may
contain identical infirmities. However, in the interests of judicial economy and in respect of this
Court’s admonitions as to cooperation and expediency, House Defendants further curtail their
Motion as to certain Responses or Interrogatory Answers as of this Reply.
3
  Plaintiffs reference the deposition of SC NAACP President Brenda Murphy with a parenthetical
reference to page 177 of her testimony as “confirming that the SC NAACP has members who are
registered voters in every Challenged District.” ECF No. 194, 3-4. The transcript instead evidences
that President Murphy cannot herself identify a specific member in each House District being
challenged that has been harmed as a result of H. 4493. ECF No. 194-2, 177:1-179:2.
4
  The e-mail communications reflect that House Defendants take issue and objected (in writings
and on calls) to Plaintiffs’ discovery counsel’s penchant for “memorializing” discussions in
extremely one-sided narratives that suffer from material omissions and misstatements of the events
as transpired. ECF Nos. 194-8, 194-9. Plaintiffs’ spokesperson’s response that House Defendants


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on March 17, 2022) (ECF No. 187), and simply ignore the obligation to demonstrate why the

requested discovery should not be had. “Discovery requests are undoubtedly proper when they

lead to relevant or potentially relevant information that will advance the litigation by clarifying a

party’s contentions and apprising a party of what they must seek to disprove.” Capacchione v.

Charlotte-Mecklenburg Schools, 182 F.R.D. 486, 489 (W.D.N.C. 1998).

        Plaintiffs also incorrectly suggest the Motion includes “issues not previously raised to

Plaintiffs,” which ignores that the timing for the discovery filing in relation to the status conference

scheduled by the Court to be held on February 15, 2022, much less the intervening time from the

stay and abeyance. Plaintiffs willingly conferred on the privilege issues and as of March 21, 2022,

had produced all of two documents recognizing no privilege applied. As such, Plaintiffs’

complaints as to “new issues” should be disregarded as moot.

                                    REPLY TO ARGUMENT

        Plaintiffs’ Response is separated into three parts, and House Defendants reply ad seriatim.

Notably, Plaintiffs fail to include a standard of review. “[T]he party resisting a discovery request

bears the burden of persuading the court that the requested information is outside the scope of

discovery.” Mach. Sol., Inc. v. Doosan Infracore Am. Corp., 323 F.R.D. 522, 529 (D.S.C. 2018) 5.




should line item correct each such uninvited error (from memory) simply invited further
disharmony. While the strategy was apparently the way in which Plaintiffs hoped to “document”
discovery consultation for their own untimely filing, House Defendants strongly dispute that any
unilateral writing of Plaintiffs is imputable to House Defendants, as they do not memorialize House
Defendants’ positions.
5
  Plaintiffs’ purported reservation of a right to further brief issues not addressed in their response
(ECF No. 194, n.5) is both unreasonable and unsupported. Plaintiffs enjoyed a significantly longer
amount of time to prepare a response to the Motion, when compared to the forty-eight (48) hours
afforded to House Defendants in response to Plaintiffs’ Motion to Compel. See ECF Nos. 109, 8;
119; 134. There is no reason for Plaintiffs not to have fully and comprehensively responded to the
Motion and no basis to overlook any failure to meet their burden.


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I.     INEFFECTIVE CLAIMS OF PRIVILEGE

       The matter of consultation has already been addressed herein. Even if the pre-filing

consultation did not (because it could not) address the not yet existing privilege logs, Plaintiffs

concede that the privilege issues were discussed during the abeyance period, and consequently the

objection as to pre-filing consultation has been mooted. Plaintiffs are obviously mistaken in

claiming the Motion “failed to identify privilege log entries for which there is a live controversy,”

as the argument goes on to discuss “13 specific log entries” identified in the Motion (ECF No. 194,

10). Again, Plaintiffs seek to avoid the proper procedural path for discovery disputes, and instead

chastise House Defendants for having “not articulated any specific pending or open disputes” when

it is on Plaintiffs to respond to the filed Motion (having had extended time to do so).

       Separate from waiver, Plaintiffs have not justified applicability of privilege to documents

and communications voluntarily disseminated to third parties with whom no privilege exists.

Plaintiffs’ latest production of two previously withheld e-mails by Plaintiff Scott (but not the

attached documents) does not end the issues raised at pages 15 and 16 of the Motion (ECF No.

157, 15-16). Notwithstanding that Plaintiffs have yet to produce the “revised log” long-promised,

Plaintiffs fail to demonstrate the applicability of any privilege to entries numbered 5, 6, 9, 14, 15,

35, 36, 67, 68, 69, 70, 71, 72 on Plaintiff Scott’s log (ECF No. 157-8) or any of the documents or

communications withheld on the basis of “NAACP v. Alabama” on Plaintiff SC NAACP’s log

(see id.). “A party asserting the privilege or protection has the burden of demonstrating its

applicability.” Oppenheimer v. Williams, No. 2:20-cv-4219-DCN, 2021 WL 5359283 *3 (D.S.C.

Nov. 17, 2021) (citing U.S. v. Jones, 696 F.2d 1069, 1072 (4th Cir. 1982) (per curium)). As

Plaintiffs have failed to make the requisite showing, the documents should be produced.




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         Finally, as to the issue of waiver, Plaintiffs’ lengthy argument has little relevance to the

actual underlying dispute. Through continued investigation by way of subpoenas directed to third

parties (given Plaintiffs’ noncompliance with discovery to date), it is clear that a “sword and

shield” performance by SC NAACP is before the Court. Plaintiffs present in their Response that

representatives of various civic organizations were simply independent participants at the “SC

NAACP-led Reapportionment Committee Meeting[s]” who “spoke openly about their concerns at

that time for the present redistricting cycle” (ECF No. 194, 11-12), and when doing so it was not

in a privileged capacity. As such, it is necessarily true the underlying details and facts on which

they base those concerns are similarly not privileged, regardless of these representatives’ present

role as legal counsel. See In re Grand Jury Proceedings, 717 F.2d 1352, 1356 (4th Cir. 1984).

         In contrast, counsel for ACLU and NAACP LDF in objecting to Rule 45 subpoenas 6

explicitly stated: “Before this suit was filed and continuing through today, Litigation Counsel have

developed and led trial strategy and motions practice,” and accuse House Defendants of “targeting

[] opposing counsel” in their attempt to obtain relevant documents through third party discovery,

demanding that the subpoenas be withdrawn entirely. Exhibit 2 (3/6/2022 Objection Letter to Rule

45 Subpoenas). Thus, in objecting to the subpoenas as well as throughout the Amended Objections

and Answers 7, a broad cloak of privilege is spread by Plaintiffs, inconsistent with the public



6
    Exhibit 1 (Rule 45 Subpoena to ACLU; Rule 45 Subpoena to NAACP LDF).
7
  Further example, Plaintiff SC NAACP’s amended objections and answers to House Defendants’
First Set of Interrogatories repeatedly place at issue the advice or conduct of counsel yet raise
privilege to avoid further disclosure. In the latest response to Interrogatory No. 9, which asks
Plaintiff SC NAACP to “[i]dentify each and every person involved in drawing the map presented
in the Amended Complaint and who were involved in making decisions regarding the placement
of district lines,” Plaintiffs refused to answer on the basis of privilege. ECF No. 194-1, 22.
Similarly, in response to the interrogatory directed to the written submissions by SC NAACP in
conjunction with the ACLU and NAACP LDF, SC NAACP asserted privilege and stated only
“non-privileged communications” had been produced.


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commentary and conduct of current counsel as established through discovery that Plaintiffs deny

as waiving privilege. As House Defendants explained in response to the Objection Letter from

ACLU/NAACP LDF Outside Counsel, the thorny privilege issues attendant to the conduct of these

organizations is a problem of their own making. Exhibit 3, 3/14/22 Response to Objection Letter.

       Rather than the obfuscating comparison made by Plaintiffs in discussion of Sedillos v.

Board of Education of School District. No. 1 in City & County of Denver, 313 F. Supp. 2d 1091

(D. Colo. 2004), it is not that Plaintiffs “raised the attorney-client privilege as to the Minutes”

(ECF No. 194, 13), it is that Plaintiffs have raised counsel’s advice and conduct as support for its

factual allegations then would shield discovery of those facts using privilege. “[A] consistent line

of cases has developed an exception to the work-product privilege where the party raises an issue

which depends upon an evaluation of the legal theories, opinions and conclusions of counsel.”

Coleco Indus., Inc. v. Universal City Studios, Inc., 110 F.R.D. 688, 690 (S.D.N.Y. 1986).

       Plaintiffs’ Response concludes its discussion of privilege by asserting that the only relevant

discovery to be had in this case is discovery as to “House Defendants’ intent,” a position repeatedly

taken during the recent consultation discussions. ECF No. 194, 13. Plaintiffs are wrong. “That is

not how discovery works.” Kehoe Comp. Sales, Inc. v. Best Lighting Prod., Inc., No. 2:08-cv-752,

2010 WL 596501 at *4 (S.D. Ohio Feb. 16, 2010) (explaining each party must independently

comply with its discovery obligations). “Discovery, in other words, is not a one-way proposition.

It is available in all types of cases at the behest of any party, individual or corporate, plaintiff or

defendant.” Hickman v. Taylor, 329 U.S. 495, 507 (1947). Plaintiffs have been on notice since the

parties’ Joint Rule 26(f) Report of the issues that House Defendants would pursue in discovery.

ECF No. 109, 5-7. Plaintiffs did not pursue a protective order or otherwise obtain a limit to House

Defendants’ right to conduct discovery. “The scope of discovery permitted by Rule 26 is designed




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to provide a party with information reasonably necessary to afford a fair opportunity to develop

his or her case.” St. John Haney v. Kavoukjian, No. 2:19-2098-RMG, 2020 WL 12762509 (D.S.C.

Aug. 3, 2020).

       Moreover, Plaintiffs materially misconstrue the pleadings filed to date, and wholesale

ignore the dispositive motions that had been filed prior to the operative answer. (ECF Nos. 51, 91,

158). House Defendants continue to challenge the veracity and sufficiency of SC NAACP’s

showing for standing, and further preserved their defense of failure to state a claim, and did not

concede the factual allegations related to requisite members and required personal harms asserted

in the Second Amended Complaint. See Ala. Legis. Black Caucus v. Ala., 575 U.S. 254, 263 (2015)

(“Our district-specific language makes sense in light of the nature of the harms that underlie a

racial gerrymandering claim. Those harms are personal…They directly threaten a voter who lives

in the district attacked. But they do not so keenly threaten a voter who lives elsewhere in the State.

Indeed, the latter voter normally lacks standing to pursue a racial gerrymandering claim.”)

(quotations omitted, cleaned up). Accordingly, any suggestion that discovery as to those matters

would not be material is simply without merit.

II.    INADEQUATE RESPONSES TO REQUESTS FOR PRODUCTION

       Noted earlier, Appendix B sets forth the specific RFPs and Plaintiffs’ amended responses

that remain subject to the Motion. Plaintiffs’ opposition primarily relies on a fabricated record

made by Plaintiffs during the abeyance. See ECF Nos. 194, 14-16 & 194-4, -8, -9. Following

receipt of each “memorializing” e-mail, House Defendants documented their objection to the

writings and denied that they fairly represented the discussions held by counsel 8. Exhibit 4,



8
 Plaintiffs disingenuously represent to the Court that production issues raised in the Motion are
“moot” and suggest House Defendants have not “articulated any similar concern with the scope of
materials SC NAACP has agreed to produce” or that “there is no live dispute as to those materials.”


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Exhibit 5 (E-mail responses objecting to accuracy of summaries); ECF No. 194-8. As relates to

the significance (if any) of the Plaintiffs’ Amended Objections and Responses to House

Defendants’ RFP (ECF No. 194-3), Plaintiffs ignore the concerns raised in the Motion and the

amended responses continue to be materially insufficient under the applicable rules of discovery.

“The scope of discovery permitted by Rule 26 is designed to provide a party with information

reasonably necessary to afford a fair opportunity to develop its case.” United States v. Town of

Irmo, S.C., 2020 WL 1025686, at *2 (D.S.C. Mar. 3, 2020) (citing Nat’l Union Fire Ins. Co. of

Pittsburgh, P.A. v. Murray Sheet Metal Co., Inc., 967 F.2d 980, 983 (4th Cir. 1992)). The

deficiencies in the Responses at Appendix B continue to be expansive, but most fall in the below

categories.

       A.      Boilerplate Objections and Vague Assurance of Future Performance

       It is well-settled in the District of South Carolina, like in many others, that boilerplate

objections are “meaningless” and should be deemed “meritless.” Curtis v. Time Warner Ent.

Advance/Newhouse P’ship, 2013 WL 2099496, at *2 (D.S.C. May 14, 2013); see also United

States v. Town of Irmo, S.C., 2020 WL 1025686, at *5 (D.S.C. Mar. 3, 2020) (“Parties are

prohibited from asserting conclusory, boilerplate objections that fail to explain the precise grounds

that make the request objectionable.”). Plaintiffs continue blanket references to unspecified

“continuing objections” and boilerplate objections in their amended responses to the RFPs, which

fail to satisfy the specificity required by Federal Rule of Civil Procedure 34(b)(2).

       Glaring examples of the improper boilerplate objections are RFP Nos. 2 and 3, in response



(ECF No. 194, 14). Indeed, evidencing some awareness that these statements are flagrantly false,
Footnote 10 of the Response offers passing reference to what is in fact a detailed account of the
continuing deficiencies in Plaintiffs’ collection efforts, and reiterates issues discussed during
earlier conferences (ignored in Plaintiffs’ false chronicles) that were raised in the Motion and
clearly remain unresolved. See Exhibit 5.


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 to which Plaintiffs assert an objection on the basis of privilege where the Request explicitly asks

 only for non-privileged documents and communications. And Plaintiffs inexplicably object to RFP

 No. 3 claiming that information sought is “outside Plaintiffs’ knowledge, possession, custody, or

 control,” when RFP No. 3 is explicitly limited to discoverable material “in your possession custody

 or control.” Multiple responses also continue to impermissibly offer vague assurances of some

 sort of production at an unknown future time. See e.g. RFP No. 2. As explained in the Motion,

 responses offering “vague assurance that the requested documents will be produced ‘in the future

 at a mutually agreeable time and place’” are insufficient and “assures continued wrangling”

 between the parties. Jayne H. Lee, Inc. v. Flagstaff Indus. Corp., 173 F.R.D. 651, 655 (D. Md.

 1997); see also Kinetic Concepts, Inc. v. ConvaTec Inc., 268 F.R.D. 226, 246 (M.D.N.C. 2010)

 (explaining the promise to continue to search for records and supplement responses in the future,

 “is a completely inadequate response to a long standing discovery request.”). As to each and every

 Request that Plaintiffs interposed boilerplate responses or vague assurances of future production,

 this Court should find Plaintiffs have waived any right to object and the responses treated as a

 failure to respond pursuant to FRCP 37(a)(3). See Kinetic Concepts, Inc., 268 F.R.D. at 247.

        B.      Incomplete Custodian and Collection Efforts

        The insufficiency of Plaintiffs’ collection efforts was raised in House Defendants’

 consultation letter and further addressed in the Motion. ECF No. 157, 18. In the Amended

 Responses, Plaintiffs now remove the earlier language promising to search files of SC NAACP’s

 President for any non-privileged documents, and in its place SC NAACP asserts that it has and

 will continue to produce “non-privileged electronic materials resulting from the custodian search

 and search term parameters disclosed to Defendants on March 7, 2022.” See e.g., ECF No. 194-3

 at RFP No. 4. The inadequacy of the custodial searches undertaken by Plaintiffs was discussed

 during the consultation call on March 14, 2022, and is addressed at length in the March 18, 2022


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 e-mail to Plaintiffs’ counsel. See Exhibit 5 (3/18/2022 E-mail) 9. The record is replete with evidence

 that relevant, responsive information is in the possession of Executive Leadership and Branch

 Presidents of SC NAACP, and Plaintiffs have failed and to date refused to collect any discovery

 materials from these individuals 10. Plaintiffs representation to this Court that no concerns exist

 with the search or scope of production is simply wrong and House Defendants continue to believe

 that Plaintiffs should be required to undertake the necessary investigation in response to properly

 propounded RFPs.

        C.      Undisclosed Audio Recordings

        As alluded in the Joint Status Report submitted on March 21, 2022, House Defendants

 were only just informed on March 18, 2022, by counsel for ACLU and NAACP LDF, that more

 than a dozen highly relevant and responsive audio recordings exist of the reapportionment

 meetings convened by SC NAACP that were never identified or disclosed by Plaintiffs in this

 litigation. See ECF No. 195, 3. House Defendants were advised that the recordings would be

 promptly produced “through party discovery” by Plaintiffs. House Defendants’ RFP No. 3




 9
   SC NAACP’s discovery positions are inconsistent with its discovery responses, which for
 example state that “Executive leadership of the South Carolina State Conference of the NAACP,
 including Brenda Murphy, President” are persons believed to have knowledge of relevant facts,
 and that “feedback from organizational leadership like executive members and/or Branch
 presidents” of the SC NAACP was obtained during material parts of the underlying redistricting
 process, making it apparent that those individuals would be custodians for purposes of SC
 NAACP’s discovery obligations. See e.g. ECF No. 194-1, Int. Nos. 2, 3, 5. The previously
 produced minutes of the SC NAACP Reapportionment Committee also evidence persons acting
 in their capacity as members/representatives of SC NAACP, all of whom are likely to have
 relevant, non-privileged information that should be collected and produced to House Defendants.
 10
   Suggesting that collection of President Murphy’s “SC NAACP” e-mail account is sufficient is
 nonsensical, given that not even President Murphy herself identifies that e-mail address as her
 contact. See ECF No. 157-9, 5. Indeed, her routine use of her personal e-mail account is found in
 the documents produced by the League of Women Voters in response to House Defendants’
 Subpoena. See e.g., Exhibit 6, B. Murphy e-mail to J. Ruoff, et al.


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 specifically asks for audio recordings related to any claim or defense in this case. In the most recent

 answer at Appendix B, Plaintiffs made no mention of the withholding of this information.

         D.      Misunderstanding of “Contention Discovery”

         The case law affirming the use of the complained “contention” requests is that very case

 Plaintiffs erroneously reference in their initial and amended responses. House Defendants are “of

 course, entitled to seek discovery of documents that support the allegations of Plaintiffs’

 complaint”. Martinez v. First Class Interiors of Naples, LLC, No: 3:18-CV-00583, 2020 WL

 7027504 (M.D. Tenn. Nov. 30, 2020). Plaintiffs argue generally that the Requests are improper

 because they do not satisfy Rule 34’s requirement of reasonable particularity, dismissing them as

 “mindlessly generated” or simply “plugged in” allegations of the Complaint. This is not so. At the

 time discovery was served, the operative pleading was the First Amended Complaint and consisted

 of 55 pages and 178 paragraphs, 159 of which were factual allegations. Plaintiffs complain that

 House Defendants are not permitted to “plug a pleading’s allegations into boilerplate requests” but

 in fact, similar document as at issue here were approved in Kinetic Co., Inc. v. Medtronic, Inc.,

 No. 08-6062, 2010 WL 11561275 (D. Minn. Nov. 23, 2010), a case cited in Martinez. Rejecting a

 plaintiff’s opposition to contention discovery in the form of both interrogatories and document

 requests, the court disagreed explaining: “The Federal Rules of Civil Procedure grant courts

 discretion to limit discovery where certain conditions are met. Absent a showing that one of these

 conditions has been met, there is no support in the [Rules] that contention discovery is somehow

 disfavoured or presumptively overly broad or unduly burdensome. This Court is not persuaded

 that [the requests] are premature, overbroad, or unduly burdensome.” Kinetic Co., Inc., at *3-4

 (citing Fed. R. Civ. P. 1, 26(b)(2), 26(c), 33(a)(2)). 11


 11
   The challenged document requests found appropriate by the court each began with the following
 language: “All documents that support your contention in the Complaint that . . . .”


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        Plaintiffs have failed to demonstrate that the requests go beyond the scope of discovery,

 and their attempt to wholesale avoid providing a complete response and production of the

 information that supports the allegations of the Complaint should be rejected. The law in the Fourth

 Circuit is clear that a factual basis must exist before bringing claims for relief and House

 Defendants are entitled to obtain discovery of the factual basis for bringing the claims regardless

 of Plaintiffs’ one-sided view of relevance. See In re Kunstler, 914 F.2d 505, 516 (4th Cir. 1990).

        E.      Improper Avoidance of Discovery

        Plaintiffs’ final argument related to the RFPs is a distortion of the proportionality

 requirement in FRCP 26. As explained in Machinery Solutions, “[t]he scope of discovery permitted

 by Rule 26 is designed to provide a party with information reasonably necessary to afford a fair

 opportunity to develop its case.” Machinery Solutions, 323 F.R.D. at 526. Plaintiffs’ myopic focus

 on “House Defendants’ actions and intent” ignores that discovery is an opportunity for all parties

 to obtain information necessary to prepare an appropriate record. “Unless limited by court order,

 the scope of discovery is governed by Federal Rule of Civil Procedure 26(b)(1) which states

 ‘[p]arties may obtain discovery regarding any nonprivileged matter that is relevant to any party's

 claim or defense.’” Patrick v. Teays Valley Trustees, LLC, 297 F.R.D. 248, 256 (N.D. W.Va. 2013)

 (quoting Fed.R.Civ.P. 26(b)(1)). “While the pleadings will be important, it would be a mistake to

 argue that no fact may be discovered unless it directly correlates with a factual allegation in the

 complaint or answer.” Thompson v. Dep’t of Housing and Urban Dev., 199 F.R.D. 168, 172 (D.

 Md. 2001). “[D]iscovery disputes involving boilerplate and other inappropriate objections [occur]

 far too frequently. . . . The days of ambushing one's opponent are gone, and were, in fact, never

 really in effect under the Federal Rules when properly applied.” Frontier-Kemper Constructors,

 Inc. v. Elk Run Coal Co., Inc., 246 F.R.D. 522, 530 (S.D. W. Va. 2007).




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 III.   INSUFFICIENT RESPONSES TO REQUESTS FOR ADMISSION

        Noted earlier, Appendix A sets forth the specific RFAs and Plaintiffs’ amended responses

 that remain subject to the Motion.

        A.      The Requests for Admission Do Not Seek Admission as to Law

        Plaintiffs’ claim that numerous requests served by House Defendants improperly sought

 admission on matters of law is without merit. ECF No. 194, 17. In Plaintiffs’ Amended Objections

 and Responses to House Defendants’ RFAs, one or both Plaintiffs continue to assert an objection

 on such basis. See Ap’x A. Plaintiffs’ extreme view loses reason and sense. “‘Parties may not view

 requests for admission as a mere procedural exercise requiring minimally acceptable conduct.

 They should focus on the goal of the Rules, full and efficient discovery, not evasion and word

 play.’” House v. Giant of Maryland, LLC, 232 F.R.D. 257, 259 (E.D. Va. 2005) (quoting

 Marchand v. Mercy Med. Ctr., 22 F.3d 933, 936 (9th Cir. 1994)).

        As clearly evidenced by examples such as RFA Nos. 23, 24 and 26, the remaining RFAs

 do not impermissibly seek admissions on matters of law; rather, the request at most presents “a

 straightforward application of law to fact. It asks the Plaintiffs to admit that if a certain factual

 situation is found to exist, a certain legal outcome results. This is precisely the kind of request

 contemplated by Rule 36(a).” Wagner v. St. Paul Fire & Marine Ins. Co., 238 F.R.D. 418, 423-24

 (N.D. W.Va. 2006). Plaintiffs have not demonstrated that any single RFA is improper, therefore

 the objections should be disregarded and the RFAs deemed admitted unless a proper response is

 made promptly.

        B.      There are No Definitional Barriers to Proper Responses

        In attempting to justify their objections based on undefined terms, Plaintiffs use the

 example of the term “BVAP.” ECF No. 194, 18-19. As explained in the Motion, however, House




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 Defendant did in fact define many of the terms challenged by Plaintiffs (ECF No. 157-4, 5), or

 were words of ordinary meaning used by Plaintiffs in their pleadings. Plaintiffs now suggest that

 more than a definition is required—an expert calculation is necessary. Plaintiffs’ positions

 continue to lack merit. See Wagner v. St. Paul Fire & Marine Ins. Co., 238 F.R.D. at 428

 (addressing objection to interrogatory on the basis that answer requires expert opinion and/or

 conclusion of law).

        C.      Interposing of Boilerplate Objections and Equivocation Does Not Comport with
                the Rules

        Plaintiffs’ last argument may well be the best representation of how objectionable their

 responses are to House Defendants’ RFAs. Nothing short of incomprehensible in almost every

 circumstance, House Defendants request the Court not overlook what was raised as the threshold

 deficiency in Plaintiffs’ responses to House Defendants’ RFAs, which was the impermissible tactic

 of interposing “OBJECTIONS” in response to each and every Request, following which were

 separately stated varying iterations of “responses” for each Plaintiff. ECF No. 157, 8. “Parties must

 respond truthfully, fully, and completely to discovery or explain truthfully, fully, and completely

 why they cannot respond. Gamesmanship to evade answering as required is not allowed.”

 Mainstreet Collection, Inc. v. Kirkland’s, Inc., 270 F.R.D. 238, 240 (E.D.N.C. 2010) (citing Hansel

 v. Shell Oil Corp., 169 F.R.D. 303, 305 (E.D.Pa.1996)); see also Henry v. Champlain Enter., Inc.,

 212 F.R.D. at 81 (describing party’s unnecessary added verbiage as “an abomination and insulting

 in their effort to make a complicated matter worse.”).

        Similarly, still at issue in Appendix A are Responses that equivocate and impermissibly

 interject issues not asked by the RFA. “Where an issue had been raised in the request, a

 qualification meeting that issue was proper; otherwise, it was not.” U.S. ex rel. Bibby v. Mortgage

 Investors Corp., 323 F.R.D. 424, 430 (N.D. Ga. 2017). “Plaintiff should not unnecessarily



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 complicate its Response by indicating it cannot admit or deny things that it is not being asked to

 admit or deny.” City of Ann Arbor Empl. Ret. Sys. v. Sonoco Prod. Co., No.: 4:08-2348-TLW-

 SVH, 2011 WL 13199217 (D.S.C. Feb. 17, 2011). “The party to whom requests for admission are

 propounded acts at his own peril when answering or objecting. Gamesmanship in the form of non-

 responsive answers, vague promises of a future response, or quibbling objections can result in the

 request being deemed admitted or in a post-trial award of monetary sanctions without prior

 opportunity to correct the deficiency.” House v. Giant of Maryland, LLC, 232 F.R.D. 257, 262

 (E.D. Va. 2005).

                                          CONCLUSION

        In response to a motion to compel, “the party resisting discovery bears the burden of

 showing why it should not be granted. Specifically, [Plaintiffs’] must make a particularized

 showing of why discovery should be denied, and conclusory or generalized statements fail to

 satisfy this burden as a matter of law.” Mainstreet Collection, Inc., 270 F.R.D. at 241. Based on

 the foregoing, House Defendants respectfully request an order assessing the sufficiency of

 Plaintiffs’ discovery responses and ordering compliance in accordance with the Federal Rules of

 Civil Procedure to issue, and for such other and further relief as the Court deems just and proper.

                                    [SIGNATURE PAGE FOLLOWS]




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